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       Murray Energy Corporation
                      Transaction Overview
                               June 4, 2018




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            Cautionary Statement & Reporting Disclosure
            Statement

Cautionary Statement

Any forward-looking statements are subject to the typical uncertainties associated with any projections of future
performance. Whether or not any such forward-looking statements or projections are in fact achieved will depend upon
future events, some of which are not within the control of the Company. Accordingly, actual results may vary from the
projected results, and such variations may be material. Information contained herein describing the financial statements
are summaries only, and such summaries are qualified in their entirety by reference to the financial statements.

Reporting Disclosure Statement

Unless otherwise noted, all figures presented herein relate only to the Restricted Subsidiaries of Murray Energy
Corporation, as defined in the Credit and Guaranty Agreement, dated April 16, 2015, as amended.

Our Credit and Guaranty Agreement excludes Unrestricted Subsidiaries from the calculation of Consolidated Adjusted
EBITDA. Unrestricted Consolidated Adjusted EBITDA has been presented for reference purposes in this presentation,
and has been calculated in a manner consistent with the calculation of Consolidated Adjusted EBITDA for our Restricted
Subsidiaries.

Unrestricted Subsidiaries figures presented herein do not include activity from Foresight Energy LP and its subsidiaries,
unless otherwise noted.




The company represents that this presentation together with the other documents posted on the intralinks site contains
all the material non-public information given to the parties that executed confidentiality agreements with the company.




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            I. Transaction Overview




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                       Executive Summary


Company Overview

      Murray Energy Corporation W+MJJ9Q #F=J?QX W+MJJ9QX or the W!GEH9FQX is the largest privately-owned coal company in the
      United States1 with annual production volumes of ~46 million tons supported by a ~2.0 billion2 ton low-cost reserve base

      As of March 31, 2018, Murray operated twelve active mines3 located in Northern Appalachia W,..X  the Illinois Basin W'* X
      and the Uintah Basin, as well as Colombia, South America

            Additionally, Murray controls the GP of Foresight Energy LP which operates four active mines in ILB

      For the LTM period ended March 31, 2018, Murray generated revenues of ~$2 billion and Adjusted EBITDA of $492 million



Transaction Overview
      The Transaction: Murray is requesting that holders of Existing Term Loans participate in a proposed Term Loan Extension, and
      is announcing that certain holders of Existing 2L Notes have elected to participate in the Notes Exchange on a private basis

      1     Term Loan Extension: Murray is requesting existing holders amend and extend existing Term Loan B-2 and Term Loan B-3
            (the W#PAKLAF? Term *G9FKX in order to, among other things, extend the maturities by 2.5 years to October 2022 (the W2=JE
            Loan #PL=FKAGFX

      2     Notes Exchange: ~$670 million of existing 11.25% Second Lien Notes (the W#PAKLAF? 2L ,GL=KX have elected to exchange on
            a private basis into New 1.5 Lien Exchange Notes (the W,=O 1.5L ,GL=KX at an exchange ratio of 74.0, with an extended
            maturity of 3 years to April 2024 and an annual coupon of 9% cash / 3% PIK (the W,GL=K ExchangeX

      In support of the Transaction, 61% in outstanding principal amount of Existing Term Loans and 71% of outstanding principal
      amount of 2L Notes have signed a Transaction Support Agreement (the W21X 4

      The Transaction offers participating investors a package of structural enhancements (see next page)
Note: All operational and financial metrics reflect the existing restricted group.
1 Based on annual underground bituminous coal production. 2 Recoverable reserves on December 31, 2017 of 1.2 billion tons plus 820 million of recoverable tons controlled by Murray through leased properties,

excluding Foresight and acquired Armstrong assets. 3 Includes two active mines acquired through transaction with Armstrong Energy, Inc. 4 The 71% of outstanding principal amount of 2L Notes excludes the
~$51 million of puttable 2L Notes that were issued in connection with the Armstrong Energy, Inc. transaction.

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                       Key Transaction Benefits


          The Transaction offers participating investors in both the Term Loan Extension and Notes Exchange a package of structural
                                 enhancements, while also improving the overall credit profile of the Company



   Structural Enhancements for Participating Lenders                                                                     Improved Credit Profile of the Company

                           U    Participating lenders will improve their lien priority                                                 U    Discount capture achieved in                    ~$240mm
  Improved                      over existing collateral. The new lien priority waterfall                     Material                      the Notes Exchange                            Debt Reduction2
    Lien                        on existing non-ABL collateral will be (1) Extending                           Debt                    U    Notes held by the !GEH9FQYK
                                                                                                                                                                                                ~0.5x
                                Term Loans, (2) Non-Extending Term Loans,                                                                   Unrestricted Subsidiaries will be
   Priority                                                                                                  Reduction                                                                      Reduction in
                                (3) 1.5L Notes, (4) 2L Notes                                                                                retired and canceled
                                                                                                                                                                                           Net Leverage2


                                                                                                                                       U    Lower go forward debt quantum
Additional                  U   Participating investors will be offered valuable                             Improved                       combined with lower cash                         ~$38mm
Collateral &                    additional collateral and guarantees incremental to                                                         interest on the 1.5L Exchange                      Annual
                                                                                                             Cash Flow                                                                      Cash Interest
                                the assets currently in the restricted group1                                                               Notes results in significant
Guarantees                                                                                                    Profile                                                                         Savings3
                                                                                                                                            annual cash interest savings



                                                                                                                                        U   Up to ~$2.5 billion of debt will
                                                                          Murray Global                                                     be extended by 2.5-3.0 years
   Murray South
                                     Murray Kentucky                    A??A6;F;7E %@5NE                    Extended                      providing valuable time to                    2.5 / 3 Years
  ?7D;53 %@5NE                                                                                                                            continue to sustain focus on                      Maturity
 Colombian Assets
                                   !@7D9K %@5NE EE7FE                  Equity Interest in                    Runway                                                                        Extensions4
                                                                              Javelin                                                       cash generating operations and
                                                                                                                                            initiatives
    ~$55-65mm                          ~$25-35mm                         ~$80-100mm
       FY 2018E                     Annualized Run-Rate                       FY 2018E
      Adj. EBITDA                      Adj. EBITDA                           Adj. EBITDA

1 For further details, see subsequent pages. 2 Includes ~$174 million of discount capture from the Notes Exchange, as well as an additional ~$66 million of 11.25% and 9.50% Second Lien Notes held by

Unrestricted Subsidiaries to be retired and canceled. In the event that the ~$51 million of puttable 2L Notes that were issued in connection with the Armstrong Energy, Inc. transaction are put back to the
Company and subsequently retired and canceled, the debt reduction and net leverage reduction will be ~$291 million and ~0.6x, respectively. 3 Includes ~$31 million of cash interest reduction from the Notes
Exchange, as well as ~$7 million of cash interest reduction from retiring 11.25% and 9.50% Second Lien Notes held in Unrestricted Subsidiaries. Excludes PIK component. Total annual interest savings, inclusive
of PIK, is ~$23 million. In the event that the ~$51 million of puttable 2L Notes that were issued in connection with the Armstrong Energy, Inc. transaction are put back to the Company and subsequently retired
and canceled, the annual cash interest savings will be ~$44 million. 4 The Company is currently engaged in discussions with ABL lenders to address the upcoming ABL maturity.

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                         1      Transaction Overview: Term Loan Extension


        Murray is requesting the consent of holders of the Existing Term Loans to effectuate the Term Loan Extension, with key terms for
                                         participating and non-participating lenders summarized below


                                                             Existing Term Loans (B-2 / B-3)                                                              Extended Term Loans
                                                              (Non-Participating Lenders)                                                                (Participating Lenders)

               Maturity                           April 2020                                                                             October 2022 (2.5 year extension)


                Coupon                            L + 725 bps / L + 775 bps                                                              L + 725 bps / L + 775 bps

                                                  The existing credit agreement will have substantially
                                                                                                                                         Participating lenders will enter into a new super-
          Credit Agreement                        all affirmative and negative covenants removed (via
                                                                                                                                         priority credit agreement
                                                  consent of participating lenders)

                                                                                                                                         First lien on Additional Collateral1, 2
                                                                                                                                               Murray South America, Inc.
    Additional Collateral and                                                                                                                  Murray Kentucky Energy, Inc. and subsidiaries
                                                  None
          Guarantees                                                                                                                           Murray Global Commodities, Inc.YK equity interest
                                                                                                                                               in Javelin
                                                                                                                                         Additional Guarantees3

                                                  Second lien on existing collateral
         Existing Collateral                            Participating lenders will consent to subordinate                                First lien on existing collateral
                                                        the liens of the Existing Term Loans to the liens
                                                        of the new super-priority Extended Term Loans

    Exchange Consideration                        None (keep existing face value)                                                        Keep existing face value

                                                  The Term Loan Extension is being offered to 100% of holders of the Existing Term Loans and is contingent on minimum
                 Other
                                                  participation of 95% participation in the Term Loan Extension
1 The Additional Collateral includes (a) all assets and 100% of equity of Murray South America, Inc., including a pledge of 65% of Murray South America, Inc.PD equity interest in Murray Colombian Resources,
LLC, (b) all assets and 100% of equity of Murray Kentucky Energy, Inc., and all subsidiaries (grant of lien over assets of certain subsidiaries may exclude ABL priority collateral), and (c) a pledge of 100% of
Murray Global Commodities, Inc.PD 34% equity interest in Javelin.
2 Murray South America, Inc. and all subsidiaries and Murray Kentucky Energy, Inc. and all subsidiaries will be designated as N-A64:7:65 Restricted -F3D:5:2C:6DO and will be subject to separate covenants under

the credit documents.
3 Murray South America, Inc., and Murray Kentucky Energy, Inc. and all its subsidiaries will be guarantors of both the Extended Term Loans and the New 1.5L Notes.



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                         2      Transaction Overview: Notes Exchange


   Holders of ~$670 million (71%) of Existing 2L Notes have provided their consent to effectuate the Notes Exchange on a private basis,
                                                    with key terms summarized below



                                                          Existing 11.25% Second Lien Notes                                                          New 1.5 Lien Exchange Notes

               Maturity                           April 2021                                                                             April 2024 (3 year extension)


                Coupon                            11.25%                                                                                 9% cash / 3% PIK

                                                  The existing indenture will have certain restrictive
                                                                                                                                         Participating noteholders will exchange into New 1.5L
              Indenture                           covenants removed (via consent of participating
                                                                                                                                         Notes, which will be governed by a new indenture
                                                  noteholders)
                                                                                                                                         Second lien on Additional Collateral1, 2
                                                                                                                                               Murray South America, Inc.
    Additional Collateral and                                                                                                                  Murray Kentucky Energy, Inc. and subsidiaries
                                                  None
          Guarantees                                                                                                                           Murray Global Commodities,                   Inc.YK    equity
                                                                                                                                               interest in Javelin
                                                                                                                                         Additional Guarantees3
                                                  Fourth lien on existing collateral
        Existing Collateral                             Participating noteholders will consent to                                        Third lien on existing collateral
                                                        subordinate the liens of the Existing 2L Notes to
                                                        the liens of the New 1.5L Notes
                                                                                                                                         For each $1,000 principal amount of 2L Notes
    Exchange Consideration                        None (keep existing face value)
                                                                                                                                         exchanged, $740 principal amount of 1.5L Notes

                                                  Pro forma for the Transaction, the Company will have baskets to allow for ~$115 million of additional pari passu 1.5 lien
                 Other
                                                  debt4

1 The Additional Collateral includes (a) all assets and 100% of equity of Murray South America, Inc., including a pledge of 65% of Murray South America, Inc.PD equity interest in Murray Colombian Resources,
LLC, (b) all assets and 100% of equity of Murray Kentucky Energy, Inc., and all subsidiaries (grant of lien over assets of certain subsidiaries may exclude ABL priority collateral), and (c) a pledge of 100% of
Murray Global Commodities, Inc.PD 34% equity interest in Javelin.
2 Murray South America, Inc. and all subsidiaries and Murray Kentucky Energy, Inc. and all subsidiaries will be designated as N-A64:7:65 Restricted -F3D:5:2C:6DO and will be subject to separate covenants under

the credit documents.
3 Murray South America, Inc., and Murray Kentucky Energy, Inc. and all its subsidiaries will be guarantors of both the Extended Term Loans and the New 1.5L Notes.
4 The exchange ratio and coupon of any future exchanges may differ than terms in the Notes Exchange. Total coupon on future exchanges involving the existing 2L Notes is capped at 12% (including PIK).



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                                   Transaction Overview
                                   Sources and Uses and Pro Forma Capitalization

                                          Sources                                                                                                                                      Uses
    New Extended Term Loans                                                      $ 1,801                                               Extend Existing Term Loans                                                      $ 1,801
    New 1.5 Lien Exchange Notes                                                       498                                              Exchange 11.25% Second Lien Notes                                                     670
    Discount Capture                                                                  174                                              Exchange 9.50% Second Lien Notes                                                        2
    Retire and Cancel 9.50% and 11.25% Second Lien Notes                               66                                              Retire and Cancel 9.50% and 11.25% Second Lien Notes                                   66
    Total Sources                                                                $ 2,539                                               Total Uses                                                                      $ 2,539

                                                                                                                                              x Adj.                  x Adj. EBITDA
                                                                           Current                                   Pro Forma               EBITDA                (Inc. MSAI & MKEI)
                                                                                                                                                       3                         4
                                                                           Amount                   P                 Amount               ($525mm)                   ($615mm)                  Coupon            Maturity
    Cash & Equivalents                                                                $ 63                    -                $ 63
                               1
    ABL Revolver ($225mm)                                                                -                    -                    -                                                              L + 175 - 225         Dec-18
    New Extended Term Loan B-2                                                           -                1,629               1,629                                                                    L + 725           Oct-22
1
    New Extended Term Loan B-3                                                           -                 173                   173                                                                   L + 775           Oct-22
    Total ABL / Super-Priority Debt                                                      -              $ 1,801             $ 1,801                    3.4 x                         2.9 x
    Net ABL / Super-Priority Debt                                                      (63)               1,801               1,739                    3.3 x                         2.8 x

    Term Loan B-2                                                                $ 1,629                $(1,629)                   -                                                                   L + 725           Apr-20
    Term Loan B-3                                                                     173                  (173)                   -                                                                   L + 775           Apr-20
2   New 1.5 Lien Exhange Notes
                                   2
                                                                                         -                 498                   498                                                          9% Cash | 3% PIK           Apr-24
    Total 1L / 1.5L Debt                                                         $ 1,801                  $ 498             $ 2,299                        4.4 x                     3.7 x
    Net 1L / 1.5L Debt                                                               1,739                 498                2,236                    4.3 x                         3.6 x

    9.50% Second Lien Notes (Public)                                                   $2                   $(2)                   -                                                                    9.50 %          Dec-20
    9.50% Second Lien Notes (Affiliate-Owned)                                           5                    (5)                   -                                                                    9.50 %          Dec-20
    11.25% Second Lien Notes (Public)                                                 996                  (670)                 326                                                                  11.25 %            Apr-21
    11.25% Second Lien Notes (Affiliate-Owned)                                         61                   (61)                   -                                                                  11.25 %            Apr-21
    Other Debt                                                                          5                     -                    5                                                                     Varies          Varies
    Total Debt                                                                   $ 2,870                  $(240)            $ 2,630                    5.0 x                         4.3 x
    Net Total Debt                                                                   2,808                 (240)              2,567                    4.9 x                         4.2 x
                           3
    FY 2018E Adj. EBITDA                                                             $ 525
                                                       4
                                                                                      615
                                                                                                                                               Transaction Highlights
    Memo: FY 2018E Adj. EBITDA (Inc. MSAI & MKEI)
                                                                                                        Decrease in net leverage of ~0.5x through ~$240 million of discount capture and retirement of notes5
                                                                                                        Annual cash interest savings of ~$38 million 6
                                                                                                        Significant maturity profile extension

    Note: For illustrative purposes, assumes 100% participation in the Term Loan Extension.
    1 The Company is currently engaged in discussions with ABL lenders to address the upcoming maturity. 2 Includes ~$2 million of exchanged 9.50% Second Lien Notes, which will maintain their existing interest rate and

       maturity date. 3 FY 2018E Adj. EBITDA reflects midpoint of guidance ($500-550 million) for the restricted group. 4 Includes midpoint of FY 2018E Adj. EBITDA guidance of $55-65 million for Murray South America,
       Inc. and midpoint of annualized run-rate Adj. EBITDA guidance of $25-35 million for 2018 for Murray Kentucky Energy, Inc. 5 In the event that the ~$51 million of puttable 2L Notes that were issued in connection with
       the Armstrong Energy, Inc. transaction are put back to the Company and subsequently canceled and retired, the debt reduction and net leverage reduction will be ~$291 million and ~0.6x, respectively. 6 Includes
       ~$31 million of cash interest reduction from the Notes Exchange and ~$7 million of cash interest reduction from retiring 11.25% and 9.50% Second Lien Notes held in Unrestricted Subsidiaries. Excludes PIK
       component. Total annual interest savings, inclusive of PIK, is ~$23 million. In the event that the ~$51 million of puttable 2L Notes that were issued in connection with the Armstrong Energy, Inc. transaction are put
       back to the Company and subsequently retired and canceled, the annual cash interest savings will be ~$44 million.

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             Transaction Timeline: Term Loan Extension


                                                          June
                           S          M           T         W         T         F          S
                                                                                1          2
                           3          4           5         6         7         8          9
                           10         11          12       13         14       15          16
                           17         18          19       20         21       22          23
                           24         25          26       27         28       29          30

                                                           Key Date




                                                                Term Loan Extension

      June 4, 2018         Launch transaction

     June 14, 2018         Signature pages due at 5:00pm ET

     June 15, 2018         Allocate transaction

                           Goldman Sachs Contacts:
                                David Lischer: (212) 902-1028 V David.Lischer@gs.com
     Key Contacts
                                Pat Armstrong: (212) 934-0897 V Patrick.Armstrong@gs.com
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Joint Lead Arrangers and   Goldman Sachs
   Joint Bookrunners       Deutsche Bank


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          II. Summary of Additional
                  Collateral




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                Overview of Additional Collateralized Assets


    Contributed assets represent high-quality mining assets and an interest in a leading global trading platform,
                               which materially enhance >7@67DEN E75GD;FK B35=397

A                                               B                                            C
                                                                                                        Murray Global
    Murray South America, Inc.                      Murray Kentucky Energy, Inc.
                                                                                                       Commodities, Inc.

    Premium quality, high Btu coal                  High quality reserves located in the         Formed by the management team,
    reserves (developed and undeveloped)            ILB, the most attractive coal basin in       Murray and Uniper to build a successful
                                                    the US                                       multi-commodity marketing, trading and
    Exposure to attractive prices in the                                                         investment franchise
    seaborne coal market                            Low cost underground       continuous        One of the largest traders of coal in the
                                                    mining operations                            US and Colombia, trading with over 80
    Low cost operations with very low                                                            counterparties globally
    maintenance     capex     requirements,
    supporting strong cash flow generation          Low cost transportation optionality          Multiple coal supply agreements with
                                                    across rail, truck, and barge expands        US utilities to supply combinations of
                                                    market opportunities                         CAPP, NAPP, PRB, ILB and coal from
    Significant NOL balances helps offset                                                        multiple international sources
    tax payments in the medium term
                                                    Ability to export from the Western           Multi-year agreements with major
    Access to extensive infrastructure              Kentucky mines provides the option to        railroads with multiple load and
    network      through      railroads   and       participate in the seaborne market           discharge points, and has shipped with
    accessibility to multiple ocean ports                                                        5 major US railroads and 7 US marine
                                                                                                 ports
                                                    Operated by highly-skilled, non-union
    17% ownership in Fenoco Railway                 workforce                                    Formed a met coal marketing and
                                                                                                 trading team, leveraging off the
    Largely non-unionized workforce                                                              established global network
                                                                                                 Provides    fuel    procurement      and
                                                                                                 inventory management services to
                                                                                                 multiple US electric generating stations


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                        A      Overview of Murray South America, Inc.

                            Overview of Operations                                                                                          Locations of Assets
       Operations include 4 concessions, with 2 operating and 3 greenfield
       mines. The 2 operating surface mines are:

             La Francia: Production of ~2 Mtpa and ~6.5 Mt of reserves

             El Hatillo: Production of ~3 Mtpa and ~27 Mt of reserves

       Premium quality, high Btu coal product with strong price realizations

       Low cost operations with low maintenance capex supports strong cash
       flow generation

       Strategically located assets that are able to
                                                   o serve Atlantic and Pacific
       Basins

             Pacific Basin represents attractive market given size and growth
             prospects
                                                                                                                                                                                                     (Prodeco)


                            Summary of Key Assets                                                                     Key Financial & Operating Parameters
                         4 coal concessions (2 operating and 3 greenfield mines)                                                                                        2016                       2017
                         in the Cesar mining district1
   Mining                124 Mt of surface reserves (up too 184 Mt including                              Tons Produced (Mt)                                              3.3                       4.0
                         underground reserves) provide significant upside with
                         price recovery                                                                   Tons Sold (Mt)                                                  3.5                       3.8

                         17% ownership in the Fenoco rail line guaranteeing                               Price Realization (f.o.b.         mine)2    ($/t)            $29.41                     $41.80
                         capacity of 7 Mtpa
     Rail                                                                                                 Cash Costs ($/t)3                                            $22.22                     $29.59
                         11 locomotives and 528 Wagons allowing for 5 full train
                         sets (10-11 Mtpa capacity)
                                                                                                          EBITDA ($mm)                                                   $14                        $45
                         100% ownership of the Rio Cordoba Transloading
     Port                Facility
                         Applied for a new concession for a coal terminal project                         FY 2018E Adj. EBITDA would be $55 million, based on API-2 at $79 per
                                                                                                                         ton (latest guidance of $55-65 million)
Source: Company Presentations and Filings, Public Filings
Note: Volumes shown in metric tonnes.
1 Shown in purple shading on the map. 2 Defined as (Coal Sales Revenue M Transportation and Transloading Expense) / Tons Sold.   3   Increase in cash costs driven by higher strip ratios and the re-start of the
  El Hatillo concession which required significant mud removal. Higher API-2 prices also result in higher royalty expenses.

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                        B       Overview of Murray Kentucky Energy, Inc.

                              Overview of Operations                                                     Locations of Assets
     Operations have over 400 employees across two operating underground
     and three idled surface mines in the ILB
          Infrastructure includes three coal processing plants as well as
          certain river dock coal handling and rail loadout facilities
     Acquisition consistent with +MJJ9QYK strategy of acquiring high Btu, low
     cost operations where it can leverage its management and marketing
     expertise
     High Btu coal product with low cost operations that benefit from
     transportation optionality across rail, truck, and barge
          Assets also located in close proximity to    o +MJJ9QYK Paradise Mine
          and have provided ability for Paradise to  o access rail transportation
     In a shortened Q1 2018 (mid-Feb. through Mar. 31), operations
     produced 0.5 mt and sold 0.5 mt, generating revenue of $19mm and
     EBITDA of $7mm
          Financial performance underpinned by $39.62/tt price realizations
          and $24 4.33/tt cash costs
     Murray expects operations will produce 3.5-4.0 mt of coal per year and
     generate annual EBITDA of $25-35mm following implementation of on-
     going initiatives and realization of synergies

                               Operating Parameters
                                                 Genesis Mine    Pride Mine                  Murray Achievements and Initiatives Underway
 Type of Mine                                    Underground    Underground                             Closed down uneconomic surface properties
 Methodology                                      Continuous     Continuous             Operational     Rejected below market sales contract
                                                                                       Achievements     Right sized labor forced and reduced contract labor
 Production Capacity (mm tons)                          3.0          3.0
                                                                                                        Significantly reduced SG&A costs
 Reserves (mm tons)                                    28.4         54.1
                                                                                                        Negotiating substantially lower royalty rates
 Btu / lb                                            11,747        11,984                Initiatives    Operational initiatives to
                                                                                                                                 o increase productivity at
 Lbs SO2 / mm Btu                                      4.58         4.79                 Underway /     U/G mines
                                                                                         Synergies      Expected procurement / operational synergies of
                Annualized run-rate Adj. EBITDA of $25-35 million                                       ~$4-6mm


Source: Company Presentations and Filings, Public Filings

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                         C       Overview of Murray Global Commodities, Inc.


                                Overview of Javelin                                                        2018E Global Seaborne Cash Flows
   Javelin Global Commodities W(9N=DAFX or W(4*,X is a global commodities
   trading, logistics, operations and investment company focused on thermal
   coal, metallurgical coal, iron ore, oil and related markets                                                             EMEA
                                                                                                                           13.5 Mtt
                                                                                                                                                                            JAP
   Offices located in London, New York, Houston, Zug, Tel Aviv and Singapore                                                                                                3 Mt
                                                                                                                                                                  CHI
                                                                                                                                                                 .5 Mt   KOR
   Javelin was formed in June 2015 by a management team (38%), Murray                                              CRB
                                                                                                                   1 Mt
                                                                                                                     M                                                   1 Mt
   Energy Corporation (34
                        4%) and Uniper SE (28%)
                                                                                                       MEX                                           IND /
        Management team has over 100 years collective experience in physical                           .5 Mt                                        SUBCON
                                                                                                                                                      5 Mt
        trading and private equity in the coal business and previously worked at
        major industry players                                                                                               BRA
                                                                                                             SA
                                                                                                            2 Mt             .5 Mt
        Uniper is an energy company with over 30 GW  W of generation in Europe
        and Russia. Uniper generated $2.1 billion in EBITDA in 2017 and has a
        market cap of ~$10 billion
                                                                                                      Javelin Offices                 Minor Flows                 Major Flows
   (9N=DAFYK strategic relationships with its shareholders includes a multi-year
   arrangement with Uniper for $185 million in financing / credit lines
                                                                                                                      Key Financial Parameters
   Javelin has achieved much since its onset having received customer and
   industry participant recognition as a major force in the commodity markets               ($ in Millions)                                            2016                        2017
   and performed well for its shareholders
                                                                                            Revenue                                                    $ 636                    $ 1,303
        One of the largest coal traders in the US and Colombia and traded with
                                                                                            EBITDA1                                                          3                       78
        over 80 counterparties globally including accounts in the US, LATAM,
        Europe, Russia and Asia                                                             Cash Balance                                                 34                          47
                                                                                                                                                                                      7

        Shipped over 14.5 mt of coal in 2016 and 20 mt in 2017. Projected to
                                                                           o                Total Assets                                                255                         409
        ship 70 mt in 2018
                                                                                            Book Value of Equity                                         83                         134
        Financial and physical trading, physical scheduling                  and   risk
        management systems on a multi commodity platform                                                           Breakdown of Equity Interests
        Formed a metallurgical coal marketing and trading team that can
        leverage the global network and infrastructure relationships
                                                                                                                            Management Services
                      FY 2018E Adj. EBITDA of $80-100 million                                              34%                      38%                            28%


Source: Company Presentations and Filings, Public Filings
1 Calculated as sum of operating profit and depreciation and amortization.



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                   Appendix:
             Additional Information




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                           Summary Organizational Chart


                                                                                                                               New Collateral:

                                                                                                                                   All assets and 100% of equity of Murray
                                                            Rzwwf~Jsjwl~                                                        South America, Inc., including a pledge of
                                                           MtqinslxHtrufs~                                                        65% of Murray South America, Inc.YK
                                                                                                                                   equity interest in Murray Colombian
                                                                         100%                                                      Resources, LLC

                                                                                                                                   All assets and 100% of equity of Murray
                                                              Rzwwf~Jsjwl~                                                       Kentucky      Energy, Inc.,   and    all
                               Ijgy
                                                               Htwutwfynts                                                         subsidiaries1

                                                                                                                                   A pledge of 100% of Murray Global
                                                                                                                                   Commodities, Inc.YK 34% equity interest in
       100%                                             100%                                                          100%         Javelin
                                                                                             100%
                                                                                                                               New Guarantors
      Rzwwf~Xtzym                                                                                          TymjwHzwwjsy
                                         Rzwwf~Pjsyzhp~                    Rzwwf~Lqtgfq
      Frjwnhf1Nsh3                                                                                           Wjxywnhyji         Murray South America, Inc.
                                           Jsjwl~1Nsh3                      Htrrtinynjx1Nsh3
        -RXFN.                                                                                                Xzgxninfwnjx
                                                                                                                                   Murray Kentucky Energy, Inc. and all
                                                       100%                                   34%                                  subsidiaries
       100%      65%
                                                                                                                               New Specified Restricted Subsidiaries
                                              Pjsyzhp~
Rzwwf~Htqtrgnfs
                                              Tujwfynsl                            Of{jqns                                      Murray South     America,    Inc.   and   all
 Wjxtzwhjx1QQH
                                               Fxxjyx                                                                              subsidiaries

                                                                                                                                   Murray Kentucky      Energy, Inc. and all
                                                                                                                                   subsidiaries
        Htqtrgnfs
        Tujwfynsl                                                                                                                Current Restricted Subsidiaries
         Fxxjyx


                                                                                                                                   Current Unrestricted Subsidiaries



1   Grant of lien over assets of certain subsidiaries may exclude ABL priority collateral.

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                         1      Term Sheet: Term Loan Extension


             Terms                                                                                      Extended Term Loans

             Borrower                         Murray Energy Corporation

                                              Guarantors of Existing Term Loans (i.e. Murray Energy Holdings Co.)
                                              New Guarantors:
            Guarantors
                                                    Murray South America, Inc.
                                                    Murray Kentucky Energy, Inc. and all subsidiaries

                                              Senior Secured
             Security                               First lien on collateral of Existing Term Loans
                                                    First lien on Additional Collateral1, 2
                                              October 2022
             Maturity                               Springing maturity 91 days inside the Existing 2L Notes, applicable only if the outstanding principal amount of the
                                                    Existing 2L Notes is greater than $175 million

           Amortization                       1.00%

                                              B-2 Tranche: L+725 bps
              Coupon
                                              B-3 Tranche: L+775 bps

           LIBOR Floor                        1.00%


        Repayment Premium                     None


    Mandatory Repayment                       75% ECF sweep


        Financial Covenants                   First Lien Net Leverage Ratio of 4.50x with step-downs


1 The Additional Collateral includes (a) all assets and 100% of equity of Murray South America, Inc., including a pledge of 65% of Murray South America, Inc.PD equity interest in Murray Colombian Resources,
LLC, (b) all assets and 100% of equity of Murray Kentucky Energy, Inc., and all subsidiaries (grant of lien over assets of certain subsidiaries may exclude ABL priority collateral), and (c) a pledge of 100% of
Murray Global Commodities, Inc.PD 34% equity interest in Javelin.
2 Murray South America, Inc. and all subsidiaries and Murray Kentucky Energy, Inc. and all subsidiaries will be designated as N-A64:7:65 Restricted -F3D:5:2C:6DO and will be subject to separate covenants under

the credit documents.

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                         2      Term Sheet: Notes Exchange


             Terms                                                                              New 1.5 Lien Exchange Notes
             Borrower                         Murray Energy Corporation

                                              Guarantors of Existing Term Loans (i.e. Murray Energy Holdings Co.)
                                              New Guarantors:
            Guarantors
                                                    Murray South America, Inc.
                                                    Murray Kentucky Energy, Inc. and all subsidiaries

                                              Senior Secured (1.5 Lien)
             Security                               Third lien on collateral of Existing Term Loans
                                                    Second lien on Additional Collateral1, 2

             Maturity                         April 2024

           Amortization                       None

                                              12.00%
              Coupon                                Cash: 9.00%
                                                    PIK: 3.00%

                                              Year 1-2: not callable (subject to T+50 make-whole and equity call-back)
           Call Premium                       Year 3: 50% coupon premium
                                              Year 4: Callable at par

    Mandatory Repayment                       None

        Financial Covenants                   None

               Other                          Pro forma for the Transaction, the Company will have baskets to allow for ~$115 million of additional pari passu 1.5 lien debt3

1 The Additional Collateral includes (a) all assets and 100% of equity of Murray South America, Inc., including a pledge of 65% of Murray South America, Inc.PD equity interest in Murray Colombian Resources,
LLC, (b) all assets and 100% of equity of Murray Kentucky Energy, Inc., and all subsidiaries (grant of lien over assets of certain subsidiaries may exclude ABL priority collateral), and (c) a pledge of 100% of
Murray Global Commodities, Inc.PD 34% equity interest in Javelin.
2 Murray South America, Inc. and all subsidiaries and Murray Kentucky Energy, Inc. and all subsidiaries will be designated as N-A64:7:65 Restricted -F3D:5:2C:6DO and will be subject to separate covenants under

the credit documents.
3 The exchange ratio and coupon of any future exchanges may differ than terms in the Notes Exchange. Total coupon on future exchanges involving the existing 2L Notes is capped at 12% (including PIK).



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